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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                      Wheeling



 UNITED STATES OF AMERICA,

                             Plaintiff,

               v.                                        Criminal Action No. 5:19-CR-3
                                                         Judge Bailey
 MICHAEL JOHN MAISEY,

                             Defendant.


              MEMORANDUM OPINION AND ORDER DENYING
      RECONSIDERATION OF ORDER DENYING COMPASSIONATE RELEASE

        Pending before this Court is pro se letter motion seeking reconsideration of this

 Court’s prior denial of compassionate release [Doc. 94].

        On April 16, 2020, Mr. Maisey filed a motion seeking home confinement and

 compassionate release [Doc. 57]. By order entered April 20, 2020, this Court denied the

 transfer to home confinement on the grounds that the defendant failed to show

 extraordinary and compelling reasons for his early release and that the defendant had

 failed to ask the Warden for compassionate release. The Court also noted “the instant

 offense for which he is incarcerated is for being a felon in possession of a firearm. This

 Court also notes the defendant has a lengthy criminal history which resulted in a criminal

 history category IV. Finally, this Court notes defendant’s pretrial bond was revoked after

 failing to appear for three drug screens.” [Doc. 58].

        On May 4, 2020, Mr. Maisey, through counsel, filed a motion seeking

 reconsideration of the denial of release [Doc. 59]. That motion documents that the
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 defendant did in fact seek release from the Warden at Butner Low. Upon receipt of the

 motion to reconsider, this Court directed the Government to respond [Doc. 61].

        By order entered August 25, 2020, this Court denied the motion to reconsider

 [Doc. 73]. On September 17, 2020, Mr. Maisey filed a letter motion seeking compassionate

 release [Doc. 84]. By order entered October 1, 2020, this Court denied that portion of the

 motion seeking compassionate release as duplicative of the prior motion, which was on

 appeal [Doc. 85].

        On January 7, 2021, Mr. Maisey filed a motion seeking reconsideration of this

 Court’s October 1, 2020, Order [Doc. 94], which is pending.

        In the pending motion, the defendant notes that he has tested positive for

 COVID-19, which due to his leukemia presents a risk to his life. A careful review of his

 positive test, however, reveals that he was found positive on June 2, 2020, or over seven

 months ago. In addition, Butner Low is reported to have no active inmate cases at this

 time. These facts, together with his lack of amenability to the rules, lead this Court to the

 conclusion that reconsideration should be denied.

        For the reasons stated above, defendant’s pro se letter motion seeking

 reconsideration of this Court’s prior denial of compassionate release [Doc. 94] is DENIED.

        It is so ORDERED.

        The Clerk is directed to transmit copies of this Order to any counsel of record and

 to mail a copy to the pro se petitioner.




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       DATED: January 12, 2021.




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